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                        EXHIBIT 11
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION



 CITY OF NEW BOSTON, TEXAS,            §
 Individually and on behalf of all others
                                       §
 similarly situated,                   §
                                       §
       Plaintiff,                      §
                                       §
 v.                                    §     Civil Action No.: 5:20-cv-00135-RWS
                                       §
 NETFLIX, INC. and HULU, LLC,          §
                                       §
       Defendants.                     §
                                       §
 _____________________________________ §




                    EXPERT REPORT OF M. RAY PERRYMAN, PHD




 _______________________
 M. Ray Perryman, PhD, President
 The Perryman Group
 June 21, 2021
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I.        INTRODUCTION AND BACKGROUND
     1.    My name is M. Ray Perryman. I am President and Chief Executive Officer of The
           Perryman Group, an economic and financial analysis firm with its principal place of
           business in Waco, Texas. The Perryman Group has about fifteen employees and
           maintains access to a large network of professionals in the United States and
           abroad.
     2.    My firm has served the needs of more than 2,500 private-sector clients in
           numerous industries, including some of the largest technology companies in the
           world.
     3.    I have more than forty years of academic and professional experience in
           economics and finance since completing my graduate education. My educational
           background includes a Bachelor of Science degree in Mathematics from Baylor
           University and a PhD in Economics from Rice University. My academic career
           includes seventeen years as a member of the faculty of Baylor University and five
           years as Business Economist-in-Residence at Southern Methodist University.
           During my tenure at Baylor, I served ten years in an endowed research chair as
           the Herman Brown Professor of Economics and five years in an honorary role as
           University Professor and Economist-in-Residence. I have published five books and
           published or presented more than 400 academic papers on a wide range of topics.
           I have also served as an officer in several academic societies and as the editor of
           academic journals and monograph series. I have won numerous awards for my
           research endeavors.
     4.    In the professional arena, I have authored more than 2,500 trade and professional
           articles. I also publish a monthly newsletter and a weekly syndicated column. My
           subscription forecasting services have provided data and projections regarding the
           economies of the U.S., Texas, regions and metropolitan areas in Texas, and
           Texas counties for the past four decades. I provide a daily syndicated radio
           program and deliver dozens of speeches each year on economic matters. I have
           also served on numerous governmental task forces and am actively involved in the
           public policy process. I am frequently invited to provide testimony to legislative and


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      regulatory bodies on various economic issues. I have received numerous awards
      for my work in these areas, including selection as the 2012 Texan of the Year by
      the Texas Legislative Conference, recipient of the 2012-2013 Baylor University
      Meritorious Service Award, recognition with the Cesar E. Chavez Legacy Award
      for humanitarian efforts in 2016, and, most recently, designations with the
      Chairman’s Award for Lifetime Achievement in Economic Development by the
      International Economic Development Council in 2019 and “Go Global” award from
      the International Trade Council as the outstanding global economic analyst. I have
      more than forty years of consulting experience, and my firm has served the needs
      of more than 2,500 clients.
 5.   I have worked for municipalities on many occasions on issues related to policy,
      revenues, infrastructure, and planning. Representative examples within Texas
      include Amarillo, Houston, Longview, Tyler, Somervell, Palestine, McKinney,
      Dallas, Lampasas, San Antonio, Odessa, Midland, Fort Worth, Pecos, Lubbock,
      Austin, Waco, Temple, and Frisco, among many others.
 6.   I have been engaged in economic modeling for over four decades, including
      extensive analysis relevant to this matter such as economic and demographic
      patterns and variations across areas, trends and effects of technology,
      infrastructure, urban growth and dynamics, and the impacts of taxes on consumer
      behavior.
 7.   I developed the first econometric model of the Texas economy more than 40 years
      ago and have expanded, refined, and enhanced it since that time. As a result, I
      have been examining economic and demographic patterns for every area of the
      state on a continuing and detailed basis for four decades, producing regular
      forecasts of population and business activity (for numerous sectors) for all parts of
      Texas since the early 1980s. This work extensively explores the diversity and
      dynamics of the various parts of Texas, an issue which is highly relevant to the
      current matter.
 8.   I have testified on hundreds of occasions before federal and state courts, the US
      Congress, the legislatures of Texas and other states, regulatory commissions, and




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       municipal government entities. A number of these engagements specifically relate
       to wired and wireless communications infrastructure.
 9.    A number of studies have involved issues related directly to telecommunications,
       communications technology, technology, 5G, broadband, regulation and taxation
       of telecommunications and other infrastructure, local government policy activity,
       and market structure and analysis in utilities and related sectors.
 10.   I have extensive experience in the analysis of industries, markets, and
       competition, including antitrust and pricing issues which are relevant to the current
       matter. I have performed numerous studies that involve the structure,
       performance, and valuation of various companies, their assets, and the industries
       in which they compete, including studies of many aspects of the energy industry.
 11.   Examples of other industries which I have extensively analyzed include electronic
       commerce (e-commerce), refined petroleum products, health care, franchising,
       electric power, newspapers, wholesale and retail groceries, trucking, cement
       production, aerospace, oil and gas extraction, hospitality, personal computers,
       medical supplies, medical equipment, pharmaceuticals, mainframe software,
       natural gas pipelines, microelectronics, bakery products, residential care,
       carbonated beverages, equipment leasing, airlines, natural gas utilities, railroad
       transportation, renewable energy, oil field equipment, coal mining, chemical
       manufacturing, defense manufacturing, tourism, higher education, offshore drilling
       labor markets, airline reservation systems, and banking.
 12.   I have also performed studies and provided testimony in various forums related to
       the deregulation of numerous industries, including telecommunications, financial
       institutions, airlines, trucking, electric power generation, natural gas, cable
       television, and broadband access. These endeavors have required extensive
       study of the nature and functioning of various markets, as well as the framework of
       competition and the implications of technological change. These engagements
       frequently involve issues relating to the proper approach to applying regulation and
       taxation/franchise fees to public infrastructure.
 13.   In addition to litigation, I have analyzed various aspects of technology-related
       industries within the framework of regulatory and legislative policy, including



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             issues related to communications and internet infrastructure pricing and access,
             competition in providing communications services, rates of return on research,
             broadband access, and incentives for promoting technology development.
      14.    I have studied the effects of taxation and tax policy on numerous occasions. I have
             advised the Texas Legislature and numerous other governmental entities on an
             ongoing basis for decades on topics related to the state’s economy and the effects
             of taxes and related issues. I have further assessed the effects of taxes on
             economic development. More specifically, The Perryman Group has measured
             economic aspects of taxation and tax policy in a variety of contexts including a
             comprehensive assessment of the relative efficiency of alternative forms of
             taxation, an evaluation of the 25-year performance of the economic development
             sales tax and a more recent update, and numerous analyses of the effects of
             specific tax proposals and the tax effects of large-scale developments and other
             investments and programs.
      15.    I have also examined issues of discrimination and its consequences in numerous
             contexts, ranging from the impact of various public policy initiatives on specific
             ethnic and gender categories to the appropriate royalty rates for patents subject to
             Fair, Reasonable, and Non-Discriminatory licensing requirements. I have further
             been involved in numerous matters related to securities, real estate, and other
             assets in which the economic appropriateness of class certification has been at
             issue.
      16.    A summary of my curriculum vita is found in Appendix A of this report. My
             complete curriculum vita, which provides a list of my publications and prior
             litigation and regulatory experience, is provided as a separate attachment. A list of
             testimony over the last four years and publications over the last 10 years are
             included as Appendices C and D.



II.         SCOPE OF THIS REPORT
      17.    I have been retained by counsel for Netflix to provide analysis and opinions related
             to the proposed franchise fee on Netflix subscriptions and related issues. The




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              scope of this current report is to provide analysis related to the appropriateness of
              certification of a class of Texas municipalities.
       18.    The Perryman Group is being compensated for our work on this assignment based
              on billable hours plus expenses. My personal rate is $800 per hour. Other
              personnel have billing rates in the $250 to $450 per hour range. My analysis
              remains in progress and, thus, the firm’s overall level of compensation has not yet
              been determined. The firm’s compensation is not dependent in any way on the
              outcome of any proceedings or the substance of the opinions that I provide.
       19.    This report includes a listing of the documents that were received, reviewed,
              and/or considered for facts, analysis, or data in forming the basis for my opinions
              as Appendix B. I reserve the right to update this report, my opinions, and Appendix
              B as additional documentation becomes available or further research or analysis is
              completed. I further reserve the right to render additional opinions during the
              merits phase of this case, as my current assignment relates to Plaintiff’s motion for
              class certification.



III.         SUMMARY OF OPINIONS
       20.    Based on my analysis to date, it is my opinion that:
                (1) Any assessment of franchise fees on Netflix under the Texas Video Service
                    Providers Act (“VSPA” or “the Act”) is contrary to economic theory and
                    historical use of such levies.
                (2) Any assessment of franchise fees on Netflix under the Act cannot be done
                    on a class-wide basis for all Texas municipalities without causing
                    discrimination against certain proposed class members and Netflix
                    subscribers. In particular, class treatment as proposed by Plaintiff would
                    discriminate based on age, income, and race. Subscribers who are likely to
                    stream content wirelessly using a cellular connection tend to be younger,
                    lower income, and racial/ethnic minorities. These individuals would be
                    charged the same 5% fee under Plaintiff’s damage model even though they
                    are more likely to stream content using mobile service (which is excluded by
                    the Act) and otherwise not relying to the same degree on wireline facilities in


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                   municipal rights-of-way to stream Netflix content as an individual who
                   streams content over an ISP. In contrast, cities with high proportions of
                   young, low-income, and racial/ethnic minority populations would
                   disproportionately benefit by collecting the same fee as cities where the
                   alleged use of wireline technologies is more prevalent.
               (3) The availability and distribution of Internet technologies to support streaming
                   have changed over time, and patterns in mobile 5G access and satellite
                   usage are rapidly evolving. Thus, even if a single formula could be
                   determined to fairly impose fees on streaming content providers at present
                   (which is not the case), it would neither be appropriate as a mechanism to
                   determine past alleged damages nor be durable going forward to properly
                   account for ongoing and future developments.



IV.         PREPARATION
      21.    In preparing to render these opinions, I have reviewed or relied upon the following
             materials and activities (for a complete listing, see Appendix B1 unless noted
             otherwise):
                  (1)   Relevant Court filings.
                  (2)   Expert reports of David Malfara and David Simon from this matter and
                        the related Ohio case, expert report of Jesse David in the related Ohio
                        case, expert reports of Steven Turner from the related Ohio and Nevada
                        cases, and reports from experts retained by Hulu (a complete listing is
                        provided in Appendix B.)
                  (3)   Relevant documents produced or provided to me, including declarations
                        from Netflix employees.
                  (4)   Publicly available documents, reports, and data compiled during the
                        course of my work on this matter.



      1
       Although Appendix B contains a listing of the documents and items that I have reviewed in preparation
      of my report, I have not necessarily relied upon all of these materials in reaching my conclusions.



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     22.    In addition to the review of these materials, my opinions in this matter are based
            on (1) research and analysis performed and described in this report, (2) my
            educational and professional background, (3) my previous experience in similar
            projects, (4) my general knowledge of the relevant industries and markets, and (5)
            general knowledge obtained during the course of this engagement. All of the work
            relating to my analysis and opinions was performed by me or individuals working
            under my direct supervision at The Perryman Group.



V.         ANY ASSESSMENT OF FRANCHISE FEES ON NETFLIX UNDER THE
           TEXAS VIDEO SERVICE PROVIDERS ACT (“VSPA” OR “THE ACT”)
           IS CONTRARY TO ECONOMIC THEORY AND HISTORICAL USE OF
           SUCH LEVIES
     23.    Plaintiff asserts that “the video service provider fee is based upon gross revenue
            derived from the flat monthly subscriptions” based on subscribers’ service
            addresses.2 This method is at odds with both the history of regulation and taxation
            on rights-of-way as it has been practiced for decades as well as the economic
            theory and logic of imposing franchise fees and clear legislative intent.
            Furthermore, this method is impossible to implement in a non-discriminatory
            manner or on a durable basis, as I explain in detail below.
     24.    The cable television franchise fee was first permitted by the U.S. government in
            the Cable Communications Policy Act of 1984, which authorized Federal, State,
            and local governments to award franchises to cable companies within the
            jurisdiction of the governmental authority.3 Franchises could “authorize
            construction of a cable system over public rights-of-way and through easements.”4
            As compensation for allowing its public rights-of-way to be used by private
            companies, the governmental body could “require a cable operator to pay a


     2
       Plaintiff’s Motion for Class Certification and Appointment of Class Representative and Class Counsel,
     May 14, 2021, p. 5.
     3
       S.66 – Cable Communications Policy Act of 1984, Congress.gov, October 30, 1984,
     https://www.congress.gov/bill/98th-congress/senate-bill/66.
     4
       S.66 – Cable Communications Policy Act of 1984, Congress.gov, October 30, 1984,
     https://www.congress.gov/bill/98th-congress/senate-bill/66.



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        franchise fee not to exceed five percent of such operator’s gross revenues for a
        12-month period.”5 My understanding is that from the outset, this franchise fee was
        levied against the company owning the conveyance equipment (i.e., cable wire),
        which, as discussed below, is consistent with both economic theory and standard
        practice. Although local franchising was initially the norm, I understand that in
        2005, the State of Texas implemented this fee on a statewide basis through the
        Act,6 which mandated franchisees to “pay each municipality in which it provides
        cable service or video service a franchise fee of five percent.”7 I further understand
        that video service refers to “video programming services provided through wireline
        facilities located at least in part in the public right-of-way without regard to delivery
        technology, including Internet protocol technology,” and “does not include any
        video service provided by a commercial mobile service provider.”8
  25.   It has been evident from the outset of this regulatory regime that the purpose of
        the franchise fee is to compensate municipalities for the construction and
        maintenance of wireline facilities located in the public rights-of-way by
        franchisees.9 Any franchise fees are best assessed against owners of
        conveyances that are constructed on municipal rights-of-way.
  26.   This approach is both consistent with economic theory and long-standing practice.
        Netflix does not have the ability to decide which method of internet connection a
        subscriber utilizes in order to stream Netflix content. A subscriber can stream
        Netflix using a wireline, cellular, fixed wireless, or satellite connection or any
        combination of these connection methods at different points in time.10 This
        complication makes it difficult, if not impossible, to ascertain which municipality’s
        rights-of-way, if any, are being used by Netflix subscribers and to what degree,
        and Plaintiff, to my knowledge, has not proposed any method for doing so.

  5
    S.66 – Cable Communications Policy Act of 1984, Congress.gov, October 30, 1984,
  https://www.congress.gov/bill/98th-congress/senate-bill/66.
  6
    Potential Effect of FCC Rules on State and Local Video Franchising Authorities, EveryCRSReport.com,
  January 9, 2020, https://www.everycrsreport.com/reports/R46077.html.
  7
    Texas Utilities Code, Title 2, Subtitle C, Sec. 66.005.
  8
    Texas Utilities Code, Title 2, Subtitle C, Sec. 66.002.
  9
    Texas Local Governments Code, Title 9, Subtitle A, Sec. 283.001.
  10
     Declaration of Michael Smith in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class
  Certification, June 2, 2021, p. 6.



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  27.   Moreover, Netflix does not install or maintain the infrastructure over which
        subscribers stream Netflix content. On the contrary, Netflix subscribers request to
        stream Netflix content over the existing infrastructure operated by ISPs.11 Thus,
        there is no incremental usage of public rights-of-way or additional costs incurred
        by a municipality when a subscriber streams Netflix.
  28.   The idea that usage by internet users of the same wireline facilities to access
        multiple sources of content (e.g., Netflix, Hulu, Amazon Prime Video, ESPN, CNN,
        FOX News, etc.) should not be subject to multiple fees was recently ratified by
        Governor Greg Abbott in 2019, when he signed into law a bill passed by the Texas
        Legislature that would eliminate one of the fees charged to telecom companies for
        cable TV and telephone services that use the same wires.12 Essentially, the Texas
        government acknowledged that charging twice for the use of the same wireline
        facilities simply because they were used for separate purposes was unfair to
        telecom companies due to the lack of incremental usage of public rights-of-way.
        Importantly, both of these usages of the wireline at issue involved a unique linkage
        of the service to the customer connected to the wire. In contrast, Netflix has no
        direct linkage to its customers, and its content is instead delivered by ISPs or other
        internet connections.
  29. Even if streaming Netflix resulted in incremental usage of public rights-of way and
        incremental costs to the municipalities that own those rights-of-way (which it does
        not), there are too many differences among municipalities in Texas for class
        certification to compensate each municipality in a non-discriminatory manner. Any
        such incremental costs would be imposed on various municipalities at different
        times depending on the current capacity of the infrastructure of the ISPs, any local
        plans to expand that infrastructure, and other factors, and they could not be tied to
        a specific content provider such as Netflix. If these costs even exist, they would
        not be universal and cannot be reduced to a formula appropriate for class-wide

  11
     Declaration of Michael Smith in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class
  Certification, June 2, 2021, p 5.
  12
     Weinberg, Tessa, Texas Cities Plan to Sue the State Over a Law That Will Slash Telecom Providers’
  Fees, June 24, 2019, Fort Worth Star-Telegram, https://www.star-telegram.com/news/politics-
  government/state-politics/article231646138.html.



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        implementation. Furthermore, to the extent that any incremental fees are
        appropriate, the ISPs which provide and maintain the infrastructure have a closer
        economic nexus to the streaming usage than Netflix and other content providers
        have to a specific address. While economics and historical policy would dictate
        that the conveyance (such as a wire or pipe) often lends itself to levying a tax or
        franchise fee (because the usage is directly tied to the wire or pipe), it becomes
        much more difficult, if not impossible, to levy a tax or fee in a fair and equitable
        manner when usage is no longer tied to the physical placement of the
        infrastructure. In addition, the content of many content providers may pass through
        the same wires, further complicating the situation.
  30.   Most conveyance infrastructure (such as power transmission lines, telephone
        lines, cable lines, and natural gas pipes) are natural monopolies. A natural
        monopoly typically exists in an industry where there are high start-up costs or
        significant economies of scale of conducting a business, thus creating significant
        barriers to entry for potential competitors. Therefore, a company operating as a
        natural monopoly might be the only provider of a particular product or service in an
        industry or in a specific geographic location.13 In these types of situations, it does
        not make economic sense to have multiple conveyance methods for the same
        service. For example, in electricity transmission and distribution to individual
        households and businesses, the grid is designed to deliver power to all of the
        homes and businesses in a community. Installing additional lines is not
        economically feasible.14 Similar reasoning applies to other methods of
        conveyance, such as cable wire, telephone lines, and gas pipelines and others for
        which one and only one installation is required for each customer.
  31.   Natural monopolies are allowed to exist because they are economically efficient
        and offer the lowest unit price to consumers.15 Many types of utilities are natural


  13
     Natural Monopoly, Investopedia, January 26, 2021,
  https://www.investopedia.com/terms/n/natural_monopoly.asp.
  14
     Natural Monopoly, Investopedia, January 26, 2021,
  https://www.investopedia.com/terms/n/natural_monopoly.asp.
  15
     Natural Monopoly, Investopedia, January 26, 2021,
  https://www.investopedia.com/terms/n/natural_monopoly.asp.



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             monopolies, and, as such, provide services including water, sewer services,
             electricity transmission, and energy distribution such as retail natural gas
             transmission to cities and towns either through the grant of a franchise or outright
             public ownership.16 Having multiple conveyances would be technically
             cumbersome and cost prohibitive. In order to prevent these natural monopolies
             from taking advantage of consumers by restricting the supply of a good, inflating
             prices, or exerting their market power in damaging ways, any private entity granted
             such a franchise is typically regulated.17 Franchise fees are an expected result of
             these types of natural monopolies because there is a single, unique provider and
             the service must be used over the conveyance at a specific location.
      32.    In contrast, streaming services such as Netflix are not natural monopolies. The
             industry is highly competitive. Moreover, when an individual streams content from
             providers like Netflix, there are multiple avenues available to access the content
             (e.g., wireline, mobile, satellite) and varying circumstances across geographic
             areas (as discussed further below). It is therefore not possible to apply a “one size
             fits all” approach that is not discriminatory with respect to municipalities and
             content providers to the extent they offer different services or have different
             customer profiles.



VI.         PLAINTIFF’S DAMAGES MODEL DISCRIMINATES AGAINST LOWER
            INCOME, YOUNGER, AND RACIAL/ETHNIC MINORITY POPULATIONS
            AND OVERCOMPENSATES THE CITIES IN WHICH THEY RESIDE
      33.    Even assuming streaming of Netflix content did impose incremental costs and
             cause additional usage of public rights-of-way, there are far too many differences
             among municipalities in Texas for a uniform approach to be applied to fairly
             compensate each municipality in a non-discriminatory manner.




      16
         Natural Monopoly, Investopedia, January 26, 2021,
      https://www.investopedia.com/terms/n/natural_monopoly.asp.
      17
         Natural Monopoly, Investopedia, January 26, 2021,
      https://www.investopedia.com/terms/n/natural_monopoly.asp.



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  34.   Texas is an extremely large state with 254 counties and 1,218 incorporated
        cities.18 The land area of Texas covers 261,232 square miles.19 The longest
        straight-line distance running generally north to south is 801 miles from the
        northwest corner of the Panhandle to the tip of Texas below Brownsville. 20 From
        east to west, the greatest distance is 773 miles from the “extreme eastward bend
        in the Sabine River in Newton County to the extreme western bulge of the Rio
        Grande just above El Paso.”21 The diversity of the state, coupled with the nature of
        video content offerings and modes of delivery, makes implementing a uniform,
        non-discriminatory mechanism for assessing franchise fees impossible.
  35.   How demographic patterns influence the potential for a city to be discriminated
        against as a member of the class is a complex and multi-faceted question.
        Individuals who are lower income, younger, and racial/ethnic minorities are more
        likely than individuals who are higher income, older, and not racial/ethnic
        minorities to stream content using a mobile connection on their smartphone since
        they are less likely to have home broadband, and these populations are not evenly
        distributed through the State.22 Because these individuals are less likely to use
        wireline facilities in the public rights-of-way to stream content, the municipalities in
        which they reside would be overcompensated by the Plaintiff’s model. In contrast,
        these individuals would be required to pay the same 5% franchise fee (to the
        extent passed on to them) under Plaintiff’s damages proposal even though they
        are less likely to rely on wireline facilities in the public rights-of-way.23 In addition,




  18
     Texas Almanac, Facts, Texas State Historical Association, 2019,
  https://texasalmanac.com/topics/facts-profile.
  19
     Texas Almanac, Facts, Texas State Historical Association, 2019,
  https://texasalmanac.com/topics/facts-profile.
  20
     Texas Almanac, Environment, Texas State Historical Association, 2018,
  https://texasalmanac.com/topics/environment/environment.
  21
     Texas Almanac, Environment, Texas State Historical Association, 2018,
  https://texasalmanac.com/topics/environment/environment.
  22
     Internet/Broadband Fact Sheet, Pew Research Center, April 7, 2021,
  https://www.pewresearch.org/internet/fact-sheet/internet-broadband/?menuItem=63d9c75c-5b75-409d-
  9a64-52bc5ed6741b.
  23
     Texas Utilities Code, Title 2, Subtitle C, Sec. 66.005.



                                                 12
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        streaming over commercial mobile devices is specifically excluded from the
        VSPA.24
  36.   On the other hand, municipalities would likely be discriminated against by inclusion
        in the class if they have larger populations who may stream content within their
        borders but are not using an account associated with an address in that
        municipality.
  37.   As discussed at length below, demographic characteristics vary widely across
        Texas. The following sections illustrate some of these differences, all of which
        impact the extent to which wireline facilities in various Texas municipalities are
        used by individuals to stream or access Netflix and other streaming services.

         VARIATIONS IN INCOME LEVELS

  38.   Comparing median household income across Texas shows significant variance
        among cities. For Texas, the median household income is $61,874 (dollars are in
        2019 inflation-adjusted dollars).25 Median household income in Amarillo is $52,725
        and in Waco is $40,190.26 Median household income in New Boston is $46,320, in
        Leander it is $101,872, while Sugar Land is $121,274.27 These municipalities are
        representative of the disparity across Texas, although other Texas municipalities
        exhibit even greater disparities.




  24
     Texas Utilities Code, Title 2, Subtitle C, Sec. 66.002.
  25
     Selected Economic Characteristics (Table DP03), U.S. Census Bureau, 2015-2019 American
  Community Survey 5-Year Estimates.
  26
     Selected Economic Characteristics (Table DP03), U.S. Census Bureau, 2015-2019 American
  Community Survey 5-Year Estimates.
  27
     Selected Economic Characteristics (Table DP03), U.S. Census Bureau, 2015-2019 American
  Community Survey 5-Year Estimates.



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        Median Household Income in
        Texas and Various Cities
                                             Median
                                          Household
        Place                               Income*
        Texas                                $61,874
        Waco                                 $40,190
        New Boston                           $46,320
        Amarillo                             $52,725
        Leander                            $101,872
        Sugar Land                         $121,274
        Source: Selected Economic Characteristics (Table
        DP03), U.S. Census Bureau, 2015-2019
        American Community Survey 5-Year Estimates.
        *Dollars are in 2019 inflation adjusted dollars.

  39.   It is more likely for those in the lower income brackets (27% for $30,000 or less
        households and 19% for $30,000 to $49,999) than higher income brackets (6% for
        both the $50,000 to $74,999 and for $75,000 or more income brackets) to only use
        smartphones to access the internet and to not have a home wireline broadband
        connection.28 These lower income populations are therefore more likely to be
        streaming content using a mobile connection and less likely to be streaming
        content using wireline facilities in the public rights-of-way.

         VARIATIONS IN AGE DISTRIBUTION

  40.   The median age for the state is 34.6 years, but the median age varies by
        municipality.29 Comparing various cities across the state shows the median age in
        College Station is 23.0, while neighboring Bryan is 30.5.30 New Boston’s median
        age is 44.0, Sugar Land’s is 42.2, and Dallas’ is 32.7.31



  28
     Internet/Broadband Fact Sheet, Pew Research Center, April 7, 2021,
  https://www.pewresearch.org/internet/fact-sheet/internet-broadband/?menuItem=63d9c75c-5b75-409d-
  9a64-52bc5ed6741b.
  29
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  30
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  31
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.



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        Median Age in Texas and Various
        Cities
                                        Median Age
        Place                               (Years)
        Texas                                  34.6
        College Station                        23.0
        Bryan                                  30.5
        Dallas                                 32.7
        Sugar Land                             42.2
        New Boston                             44.0
        Source: Age and Sex (Table S0101), U.S. Census
        Bureau, 2015-2019 American Community Survey
        5-Year Estimates.



  41.   Focusing on selected age categories shows similar variation across the state. For
        Texas, the 18-24 age group represents 9.9% of the total population.32 In College
        Station, however, the 18-24 age group is 39.3% of the population while in Bryan it
        is 14.1%.33 In New Boston, the 18-24 age group is 9.3% of the population while in
        Harlingen it is 9.4% and Rowlett it is 6.6% of the population.34

        Percentage of Population of 18-
        24 Age Group in Texas and
        Various Cities
                                        Percentage
                                           of Total
        Place                           Population
        Texas                                 9.9%
        Rowlett                               6.6%
        New Boston                            9.3%
        Harlingen                             9.4%
        Bryan                                14.1%
        College Station                      39.3%
        Source: Age and Sex (Table S0101), U.S. Census
        Bureau, 2015-2019 American Community Survey
        5-Year Estimates.


  32
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  33
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  34
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.



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  42.   Analyzing the age group 75 and older also shows significant variance across
        Texas. For Texas, the 75 and older age group comprises 4.9% of the population,
        with variation across the state.35 In College Station, the 75 and older age group is
        2.5% of the population and in Killeen it is 2.2%.36 In New Boston, this age group is
        8.4% of the population and in Harlingen it is 7.3%, while in Austin the 75 and older
        age group is 3.3% of the population.37

        Percentage of Population of 75
        and older Age Group in Texas
        and Various Cities
                                        Percentage
                                           of Total
        Place                           Population
        Texas                                 4.9%
        Killeen                               2.2%
        College Station                       2.5%
        Austin                                3.3%
        Harlingen                             7.3%
        New Boston                            8.4%
        Source: Age and Sex (Table S0101), U.S. Census
        Bureau, 2015-2019 American Community Survey
        5-Year Estimates.


  43.   As with income level, these variations in age affect the likely usage of public rights-
        of-way. A survey from FairShake in 2020 found that younger people were more
        likely to access Netflix’s service; specifically 85% of respondents aged 18 to 24
        years old and 87% of those aged 25 to 34 years old.38 The share of users falls with
        age, with 81% of 35 to 44 year-olds, 73% of 45 to 54 year-olds, and only 55% of
        those aged 55 years or more subscribing to Netflix.39


  35
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  36
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  37
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  38
     The State of Streaming in the U.S. in 2020, FairShake, August 24, 2020,
  https://fairshake.com/consumer-guides/2020-state-of-streaming/.
  39
     The State of Streaming in the U.S. in 2020, FairShake, August 24, 2020,
  https://fairshake.com/consumer-guides/2020-state-of-streaming/.



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  44.   However, the younger age groups, such as those born between 1983 and 2003,
        spend significantly more time watching movies and television shows on a
        smartphone than older generations born from 1965 and earlier.40 Moreover,
        younger age groups are more likely than older age groups to only access the
        internet through their smartphones while at home and to not have a home wireline
        broadband connection. 41 Therefore, these younger generations are more likely to
        stream on phones but less likely to have home wireline broadband. Consequently,
        they are more likely to be accessing wireless content through a mobile service and
        not using municipal rights-of-way in the city in which they are located. Increases in
        unlimited data plans and the enhanced ability to stream video content through
        such platforms will likely reinforce this pattern. The number of adults aged 18 to 29
        that only access the internet at home through a smartphone increased from 22%
        in 2019 to 28% in 2021,42 whereas smartphone-only usage decreased from 18%
        to 11% for those 30 to 49 years and from 14% to 13% for 50 to 64 year olds and
        remained steady at 12% for 65 years or older.43
  45.   Although unauthorized,44 the reality of account sharing is relevant to the issue of
        class certification. Account sharing varies by age group. Based on a study by
        CordCutting, it was estimated that only 60% of users are actually paying for their
        streaming service (though the exact numbers vary by provider).45 It is also
        estimated that 13% of Netflix users are accessing content via a subscriber outside



  40                                 th
     Digital Media Trends Survey, 12 edition, Deloitte Insights, 2018, p. 13.
  41
     Internet/Broadband Fact Sheet, Pew Research Center, April 7, 2021,
  https://www.pewresearch.org/internet/fact-sheet/internet-broadband/?menuItem=63d9c75c-5b75-409d-
  9a64-52bc5ed6741b.
  42
     Internet/Broadband Fact Sheet, Pew Research Center, April 7, 2021,
  https://www.pewresearch.org/internet/fact-sheet/internet-broadband/?menuItem=63d9c75c-5b75-409d-
  9a64-52bc5ed6741b.
  43
     Internet/Broadband Fact Sheet, Pew Research Center, April 7, 2021,
  https://www.pewresearch.org/internet/fact-sheet/internet-broadband/?menuItem=63d9c75c-5b75-409d-
  9a64-52bc5ed6741b.
  44
     Section 4.2 of the Netflix Terms of Use states that the “Netflix service and any content viewed through
  our service are for your personal and non-commercial use only and may not be shared with individuals
  beyond your household.” See Netflix Terms of Use, https://help.netflix.com/legal/termsofuse, updated
  January 1, 2021.
  45
     Lovely, Stephen, Subscription Mooching in 2021, CordCutting, April 1, 2021,
  https://cordcutting.com/research/subscription-mooching/.



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        of their household,46 and there is evidence that account sharing may have
        increased greatly during the pandemic. One survey by KillTheCableBill.com from
        the end of 2020 found that 54% of Netflix subscribers have shared their password
        with someone beyond their household.47 Younger people in general are more
        likely to share someone else’s Netflix account. Another CordCutting survey from
        2019 found that Millennials were more likely to use another person’s Netflix login,
        with 18% indicating they had compared to 11% of Baby Boomers and 9% of
        Generation X.48 This pattern indicates that cities with a higher percentage of
        Millennials (such as Austin, with 31.2% in the 25-39 age range relative to New
        Boston, with 20.3% in that age category) 49 would be disadvantaged in a
        discriminatory manner by the franchise fee structure proposed by the Plaintiff to
        the extent that municipal rights-of-way are utilized, but the city is not compensated
        under the Plaintiff’s model because streaming is occurring through an account with
        an address in a different city (and Plaintiff’s model is tethered to service address
        and not the streaming of content).
  46.   Therefore, communities with younger residents, such as College Station with a
        median age of 23.0, are more likely to have heavier Netflix usage than
        communities with older populations (such as New Boston, where the median age
        is almost twice as high). At the same time, these younger populations are more
        likely to be streaming (1) while connected to a mobile service, meaning that they
        would be more likely to pay franchise fees without streaming content through
        wireline facilities and that the cities in which those younger individuals reside
        would be overcompensated under Plaintiff’s model as a result, and (2) using
        someone else’s account, meaning the cities in which they are streaming would be

  46
     Lovely, Stephen, Subscription Mooching in 2021, CordCutting, April 1, 2021,
  https://cordcutting.com/research/subscription-mooching/.
  47
     Survey: 54% of Netflix Subscribers Share Their Account with People Outside Their Homes,
  KillTheCableBill.com, May 20, 2021, https://www.killthecablebill.com/tv/stream/netflix/password-sharing-
  survey/.
  48
     Bauman, Valerie, Millennials are the Generation Most Likely to Use Another Person’s Netflix Account,
  with 18 Percent Admitting to Illegal Streaming, Survey Finds, January 12, 2019, Daily Mail,
  https://www.dailymail.co.uk/news/article-6583067/Millennials-generation-likely-use-persons-Netflix-
  account-18-percent-admitting.html.
  49
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates



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        undercompensated to the extent these populations are streaming using wireline
        internet connections.



         VARIATIONS IN RACIAL/ETHNIC COMPOSITION

  47.   The percentage of the Texas population that is Hispanic (of any race) is 39.3%,
        while 12.1% of the population is Black or African American alone.50 Racial/ethnic
        composition varies widely for municipalities across the state. In Amarillo, 33.1% of
        the population is Hispanic (of any race) and 6.6% is Black or African American
        alone.51 The College Station population is 15.8% Hispanic (of any race) and 7.6%
        Black or African American alone and Harlingen is 81.8% Hispanic (of any race)
        and 1.2% Black or African American alone.52 In New Boston, 3.4% of the
        population is Hispanic (of any race) and 19.5% Black or African American alone,
        while in Killeen 26.6% of the population is Hispanic (of any race) and 40.1% Black
        or African American alone.53




  50
     Hispanic or Latino Origin (Table B03003) and Race (Table B02001),   U.S. Census Bureau, 2015-2019
  American Community Survey 5-Year Estimates.
  51
     Hispanic or Latino Origin (Table B03003) and Race (Table B02001),   U.S. Census Bureau, 2015-2019
  American Community Survey 5-Year Estimates.
  52
     Hispanic or Latino Origin (Table B03003) and Race (Table B02001),   U.S. Census Bureau, 2015-2019
  American Community Survey 5-Year Estimates.
  53
     Hispanic or Latino Origin (Table B03003) and Race (Table B02001),   U.S. Census Bureau, 2015-2019
  American Community Survey 5-Year Estimates.



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        Percentage of Population of that is Hispanic in
        Texas and Various Cities
                                     Percentage of            Percentage of
                                    Population that        Population that is
        Place                          is Hispanic                     Black
        Texas                                39.3%                    12.1%
        New Boston                            3.4%                    19.5%
        College Station                      15.8%                      7.6%
        Killeen                              26.6%                    40.1%
        Amarillo                             33.1%                      6.6%
        Harlingen                            81.8%                      1.2%
        Note: ”Hispanic” refers to individuals who are Hispanic or Latino and may
        be of any race. “Black” is Black or African American alone.
        Source: Hispanic or Latino Origin (Table B03003) and Race (Table
        B02001), U.S. Census Bureau, 2015-2019 American Community Survey 5-
        Year Estimates.


  48.   Racial/ethnic minorities are more likely to connect to the internet through their
        smartphones and not to have a wireline broadband connection. While the share
        remained steady at 12% for White adults and 25% for Hispanic adults, the number
        of Black adults only relying on smartphones for internet access at home decreased
        from 23% to 17% in 2021 but still remains above the percentage for White
        adults.54 Racial/ethnic minorities are thus more likely to be streaming content using
        a mobile internet connection.

         SUMMARY OF THIS ASPECT OF THE ANALYSIS

  49.   To summarize this aspect of the analysis, lower income households, younger
        people, and ethnic/racial minorities are more likely to utilize a mobile service
        provider to access the internet, and these populations are not evenly distributed
        across the State. Cities with higher percentages of the population who are lower
        income, younger, or in a minority racial/ethnic group would tend to have less
        content streamed over wireline facilities in municipal rights-of-way. As a result,
        Netflix subscribers in those cities would be more likely to pay franchise fees
        passed on to customers under Plaintiff’s simple damages approach without

  54
     Internet/Broadband Fact Sheet, Pew Research Center, April 7, 2021,
  https://www.pewresearch.org/internet/fact-sheet/internet-broadband/?menuItem=63d9c75c-5b75-409d-
  9a64-52bc5ed6741b.



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        accessing wireline broadband internet or at least not to the same degree. Thus,
        those cities with larger numbers of subscribers who are lower income, younger, or
        part of a minority racial/ethnic group would receive an amount in franchise fees
        that is disproportionate to the actual usage of their rights-of-way as a result. These
        demographics demonstrate that there are large discrepancies among
        municipalities such that a determination of whether and to what extent Netflix
        provides “video service” cannot be made on a class wide basis.
  50.   As an illustration of the differences across areas, the Rio Grande Valley is more
        likely to have a higher proportion of households that do not have a broadband
        connection but use cellular data to connect to the internet. For instance, McAllen,
        the largest city in the region, has a median age of 33.4, and 20 to 29 year olds
        comprise 14% of the total population.55 Comparatively, the median age in New
        Boston is 44.0 years and 20 to 29 year olds are only 11.4% of the population.56
        McAllen also has a much larger Hispanic population (84.8%) compared to New
        Boston (3.4%), so there is also a larger possibility that the area has more wireless-
        only users due to ethnic composition.
  51.   Because the fee can be passed on the Netflix’s customers, those who stream
        content but do not implicate municipal rights-of way would be treated in a
        discriminatory manner in being compelled to pay for something that they do not
        use. As demonstrated above, this unconventional and improper approach would
        tend to disadvantage lower income, younger, and minority racial/ethnic
        socioeconomic groups (who may stream content using cellular only), while
        overcompensating the cities in which they reside. This approach would also be
        discriminatory to cities with higher concentrations of younger populations to the
        extent those populations are streaming content using wireline facilities but using
        an account associated with an address in another municipality, as the rights-of-
        way of those cities would be used relatively more extensively without incremental
        compensation.
  55
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.
  56
     Age and Sex (Table S0101), U.S. Census Bureau, 2015-2019 American Community Survey 5-Year
  Estimates.



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VII.         PLAINTIFF’S DAMAGES MODEL FAILS TO ACCOUNT FOR
             TECHNOLOGICAL DEVELOPMENTS OVER TIME
       52.      Two of the factors that would lead to discrimination against certain municipalities
                under Plaintiff’s proposal for application of franchise fees are (1) differences in the
                methods available for streaming Netflix content and the utilization rates of those
                methods and (2) variations over time in the availability of different methods for
                streaming Netflix content. Even if it were appropriate to apply franchise fees on
                content providers like Netflix, these variations would need to be considered on a
                case-by-case basis to avoid discriminatory application of the franchise fee due to
                factors such as those outlined below. As noted, streaming over commercial mobile
                devices is specifically excluded from the VSPA.57 Moreover, changes in these
                methods for streaming over time accompanied with changes in the demographic
                patterns (discussed above) would undermine efforts to determine proper fees
                historically and cause any purported method to lack durability with respect to
                further variations in the future.

                  DIFFERENCES IN AVAILABILITY AND PREVALENCE OF WIRELESS STREAMING

       53.      One significant complication for class certification lies in the fact that the
                availability and prevalence of wireless streaming has expanded over the past
                several years. In addition, this expansion has not occurred at the same rates for
                every municipality in the proposed class, and the prevalence of wireless internet
                access may continue to grow disproportionately between urban and rural
                locations. Given that the availability and quality of wireless streaming infrastructure
                is changing rapidly over time, it is inappropriate to apply a standard based on the
                past to the current situation or to apply a standard based on the current situation to
                calculate past damages. Similarly, it is inappropriate to apply a standard based on
                one city to another. Finally, given the rapid changes, any standard adopted today
                would set a precedent but might be inappropriate given future wireless streaming
                capabilities.


       57
            Texas Utilities Code, Title 2, Subtitle C, Sec. 66.002.



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  54.   When the Texas VSPA become law in 2005, cable TV was the widespread way to
        access video content through wireline facilities, and it was fixed to a single
        address.58 Although other TV methods, such as satellite and over-the-air TV, had
        existed for decades, streaming video content over mobile internet is a recent
        phenomenon.59 Most consumers did not have easy access to mobile internet at
        speeds high enough to stream video with satisfactory quality. 60 Netflix did not even
        release its streaming service until 2007,61 and its smartphone app was not
        unveiled until 2010.62 Since that time, newer technologies, such as 4G LTE and
        5G for cellular and Starlink for satellite internet, have been introduced,
        revolutionizing how and where consumers can access the internet and watch
        streaming video. In addition, unlimited mobile data plans have become more
        common in recent years, further contributing to these changes.63

         5G

  55.   5G is the next (5th) generation of mobile internet connectivity, allowing for faster
        speeds, smoother streaming, higher quality calls, more reliable connections, more
        connected “Internet of Things” (loT) devices which are everyday objects with the
        ability to connect to the internet and receive data, and further development of
        technology.64 It is my understanding that 5G is a commercial mobile service
        excluded by the Texas Act. Its deployment will profoundly affect the usage of
        municipal rights-of-way over time and cause widely varying shifts in the extent of
        usage among individual areas. According to Qualcomm, “5G will impact every


  58
     Fuller, John, How Internet TV Works, HowStuffWorks, April 15, 2021,
  https://electronics.howstuffworks.com/internet-tv.htm.
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     2020 Communications Marketplace Report, Federal Communications Commission, December 31,
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  64
     McCann, John, Mike Moore and David Lumb, 5G: Everything You Need to Know, TechRadar, May
  2021, https://www.techradar.com/news/what-is-5g-everything-you-need-to-know.



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        industry” and “expand the mobile ecosystem into new realms.”65 5G has been
        touted as “the key to enabling smart cities [and] autonomous vehicles.” 66 There
        have even been claims that “5G [will] replace the need for enterprise Wi-Fi.”67
        However, 5G “is not so much a tangible thing as it is a direction of the
        technology.”68 The development of 5G is a process that has been ongoing for
        almost a decade.69 As with any technology, 5G has progressed through multiple
        stages, such as initial research, standardization, product development, and, finally,
        commercial deployment.70 Verizon launched the world’s first 5G product, a home
        internet service called 5G Home, in 2018.71 Since then, multiple operators have
        launched 5G networks.72 In 2020, the pandemic slowed the rollout of 5G, but it
        also highlighted its importance as many people began working remotely.73
        According to Sylvia Jablonski, the chief investment advisor of Defiance ETFs, an
        investment advisory firm, there were only about 70 U.S. cities with 5G as of March
        2021. However, carriers plan to bring 5G to around 5,000 U.S. cities by the close
        of the year.74



  65
     Everything You Need to Know About 5G, Qualcomm Technologies, Inc., (n.d.),
  https://www.qualcomm.com/5g/what-is-5g#:~:text=5G.
  66
     Correll, Perry, 5G in 2021 – Are We There Yet?, Extreme Networks, April 6, 2021,
  https://www.extremenetworks.com/extreme-networks-blog/5g-in-2021-are-we-there-yet/.
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  56.   The U.S. was an early entrant into the 5G market.75 The U.S. has 5G networks in
        place in urban areas through AT&T, Verizon, and T-Mobile,76 all of which claim to
        cover more than 70% of the U.S. population.77
  57.   One of the primary attributes of 5G is faster speed.78 For example, using 5G, a
        smartphone is able to download a movie in roughly 15 seconds whereas a 4G
        smartphone can download that same movie in about six minutes.79 The U.S. has
        an average speed of only 33.4 Mbps.80 However, 5G is intended to eventually
        reach speeds of around 10 gigabits per second on a smartphone, about 600 times
        typical 4G speeds, “and 10 times faster than Google Fiber's standard home
        broadband service.”81
  58.   While 5G has invaluable potential, it is also complex to implement. Several
        challenges impact the rollout of 5G. For example, 5G networks operate on higher
        frequencies in order to deliver ultra-fast speeds. However, the availability and cost
        of spectrum band can be cumbersome to operators.82 Furthermore, “[t]he initial
        phase of 5G deployments are based on non-standalone 5G which uses LTE core
        and LTE access is the anchor for New Radio (NR).” This dual connectivity is a




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        complex establishment.83 It is also important to develop appropriate architecture to
        support 5G. The necessary “[f]eature-rich structure makes it more [intricate] than
        ever and handling such network require experienced staff.”84 Additionally, the
        bandwidth in 5G technology calls for “denser fibre for front-haul, mid-haul and
        back-haul network,” thereby increasing the “volume of fiber cables and end points
        used with a greater need for multiplexing (WDM) and ultimately scaling the
        complexity of fiber testing.”85
  59.   In order “[t]o ensure the widespread deployment of 5G networks,” critical decisions
        must be made as when to invest in 5G infrastructure, which would be the most
        suitable business models, and how to best align efforts.86
  60.   As for 5G-compatible devices, several smartphones are currently available that
        are designed to support 5G and numerous carriers already support 5G networks.87
        Android phone manufacturers began selling 5G-capable phones in 2019.88 Apple
        released its first 5G-capable phone in October of 2020.89 However, simply having
        the device does not mean the user instantly has access to 5G.90 While dozens of
        countries support 5G networks, availability is still limited.91 In fact, at this time, 5G

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        devices account for less than 2% of overall connections in countries where the
        standard is available.92 For now, most carriers offer 5G service in a bundle with
        their most expensive plans.93 Others offer 5G on a monthly basis at a higher cost
        or will add the service to an existing plan for an additional monthly fee.94 Adding
        additional costs through franchise fees for those who are using 5G for streaming
        would further increase costs.
  61.   As 5G technology becomes more prevalent, more smartphones and carrier
        subscriptions can be expected and costs will be reduced.95 This deployment will
        inevitably occur initially in more densely populated areas and, as with all new
        communications architecture, will be implemented at varying rates and times
        across Texas (and elsewhere).
  62.   Even if it were possible to design a damages model today that allows for
        assessing fees on streaming content providers in a non-discriminatory manner,
        any structure would not be durable over time. The uneven rollout of 5G would
        completely restructure the composition of streaming usage and the extent to which
        it makes use of municipal rights-of-way across various cities within the state.
        Plaintiff’s damages model makes no effort to account for these differences over
        time. As a result, Plaintiff’s damages model would overcompensate cities in which
        more users rely on 5G (and other mobile service) to stream Netflix content, while
        at the same time imposing franchise fees on Netflix’s customers who rely on that
        5G to stream content. The nature of this discrimination would vary by city given the
        uneven rollout of 5G and the demographic differences in the state (as discussed
        above). The discriminatory nature of the structure would exist both in any attempt


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        to apply Plaintiff’s damages model historically for past alleged damages and such
        issues would only increase in the future as the uneven rollout of 5G continues.

         SATELLITE INTERNET

  63.   Another example of the disparities between Texas communities relates to the use
        of satellite internet to view Netflix content. Satellite internet does not use wireline
        facilities in public rights-of-way of the municipality at issue. As previously
        mentioned, Netflix does not control which connection method is used for content
        delivery; the connection method is selected and controlled by the subscriber
        and/or the ISP. Further, because Netflix may not know which connection a
        subscriber is using to view a show, it would be difficult to determine whether the
        franchise fee applied to all subscribers in a municipality, and Plaintiff’s request to
        apply the franchise fee to all Netflix subscription revenues would likely
        overcompensate certain municipalities for the actual use of their rights-of-way.
  64.   One challenge for determining franchise fees for the proposed class is that, for
        municipalities with higher adoption rates of satellite internet now as well as into the
        future, the level of overcompensation would not be uniform compared to
        municipalities with lower adoption rates. Satellite internet is more likely to be used
        in less populated areas and areas with no access or limited access to high-speed
        wireline-based broadband internet. Adoption rates today vary substantially across
        municipalities. For example, in rural New Boston, satellite broadband is used by
        24.0% of households with an internet subscription, whereas satellite broadband is
        used by only 4.1% of urban Austin households.96
  65.   In addition, the amount of usage of satellite service may increase into the future,
        and the variation in usage of satellite service is likely to change into the future as
        well, meaning that discrimination due to class treatment would likely increase (or
        at minimum change) into the future. For example, Starlink, the satellite-based
        broadband internet being implemented by SpaceX, is expected to increase the
        number of satellite internet subscribers, especially in less populated rural

  96
    Types of Computers and Internet Subscriptions (Table S2801), 2015-2019 American Community
  Survey 5-Year Estimates, U.S. Census Bureau.



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        municipalities and municipalities with fewer options for high-speed broadband via
        other connection methods.97 Starlink is also expected to allow internet access for
        mobile homes and vehicles.98 Given this benefit, municipalities with higher
        proportions of mobile homes and RVs may transition further to satellite broadband,
        which does not use public rights-of-way in the city in which content is streamed.
        Texas has many areas that fit this category, particularly those with transient
        workers in the oil and gas industry. As Netflix subscribers in these and other rural
        communities shift toward satellite broadband, the franchise fee would unfairly
        compensate these municipalities in the future, especially in light of the fact that
        Netflix has no control over which connection medium is used to access its content.
  66.   There is no feasible method of applying a simple formula to the entire proposed
        class, especially both backward and forward in time, that would avoid
        discriminating among municipalities with varying usage of satellite internet. Even
        attempting to remove those with satellite broadband service from among the
        subscribers for whom the franchise fee would apply (which is likely not possible)
        would not result in an appropriate allocation. Initially, as stated above, there is the
        possibility that a household may have multiple internet service subscriptions.
        Additionally, the percentage of households using satellite internet connections may
        grow over time for some communities at varying rates. The previously mentioned
        data from the US Census Bureau is only available for 2019, based on five-year
        estimates for 2015-2019. For some cities, the percentage of satellite internet users
        is higher using the single year 2019 data than the five-year average, while lower in
        others indicating satellite usage has increased in some areas but decreased in
        others.99 (Note that single year estimates are available only for larger cities, while
        data for smaller cities is only available using five-year estimates.) Given that


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               recent trends, such as the introduction of Starlink internet service and satellite
               internet advances by other companies including Amazon, would likely cause
               satellite internet adoption rates to change rapidly over time, it would be virtually
               impossible to apply any formulaic approach to determining franchise fees for the
               class as a whole. Each municipality would, at minimum, need to be separately
               considered.



VIII.         CONCLUSION
        67.    The bottom line is quite simple. I have studied Texas intensely since I began
               building the first econometric model of the state in the 1970s. In the intervening
               period of about 45 years, I have traveled millions of miles and talked to hundreds
               of thousands of people in every part of the state. Texas is a very big and diverse
               area. Cities across the state vary massively in terms of age distribution, income
               patterns, education levels, ethnicity, industrial composition, commuting patterns,
               cultural heritage, municipal finances and infrastructure, broadband access and
               sources, and myriad other characteristics. All of these differences have profound
               implications for the extent and nature of use of streaming services. Any attempt to
               impose franchise fees that varies from the traditional and economically appropriate
               approach of taxing a conveyance that is uniquely tied to a user in a specific
               location (cables, wires, and pipes) will inherently and inevitably discriminate with
               respect to cities and content services, such as Netflix, who are not uniquely linked
               to the identifiable mode of transmission or a particular location of use. In addition,
               as the incremental subscription charges imposed as fees are passed to
               customers, those who are not using wireline to stream (typically younger, lower-
               income, and racial/ethnic minority groups) and are therefore excluded by the Act
               would unfairly shoulder additional costs. Moreover, the patterns are dynamic and
               constantly changing, thus preventing any simple formula that might be temporarily
               formulated from being durable with respect to either past alleged damages or
               future fee structures. Simply stated, the approach for imposing franchise fees
               advocated by the Plaintiff tied to service address does not align with the economic
               intent of franchise fees and, even if it could be properly aligned with usage, cannot


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       be fairly and equitably accomplished in a uniform manner that is equitable to
       users, municipalities or providers or durable over time.




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                                       APPENDIX A
                                    M. RAY PERRYMAN
                             President & CEO, The Perryman Group
              Institute Distinguished Professor of Economic Theory and Method
                           International Institute for Advanced Studies


  ACADEMIC BACKGROUND
  Ph.D. in Economics, Rice University
  B.S. in Mathematics, Baylor University

  SELECTED ACADEMIC/PROFESSIONAL POSITIONS AND ACTIVITY (Current and Former)
  Business Economist-in-Residence, Cox School of Business, Southern Methodist University
  University Professor and Economist-in-Residence, Baylor University
  Herman Brown Professor of Economics, Baylor University
  Founder and Director, Center for the Advancement of Economic Analysis, Baylor University
  President, Southwestern Economics Association
  President, Southwestern Society of Economists
  Editor, The Southwestern Journal of Economic Abstracts
  Editor, International Series in Economic Modeling (book series)
  Editor and Author, The Perryman Report & Texas Letter (monthly economic newsletter)
  Editor and Author, The Perryman Economic Forecast (subscription forecasting service)
  Author, “The Economist” (syndicated weekly newspaper column)
  Host, The Perryman Report, daily radio broadcast on the Texas State Network
  Assistant Editor, The Journal of Economics
  Contributing Economist, “Marketplace Radio,” National Public Radio
  Published or presented more than 400 academic papers
  Authored or edited 5 books

  SELECTED ADVISORY/CONSULTING ACTIVITY (Current and Former)
  Advisor or Member for more than 50 governmental entities at the international, federal, state,
   and regional levels including: Federal Task Force on the Savings and Loan Crisis, Congress
   of the United States; Joint Economic Committee, Congress of the United States; United States
   Senate Academic Advisory Committee on the North American Free Trade Agreement; and
   Governor’s Task Force on Economic Growth
  Economic Advisor, Federal Reserve System and Federal Home Loan Bank Board
  Economic Advisor, United States Senate
  Economic Advisor, United States House of Representatives
  Economic Advisor, Office of the President
  Economic Advisor, US Departments of State, Defense, the Treasury, Labor, Agriculture, the
   Interior, Commerce, Energy, and Housing and Urban Development
  Economic Consultant, Federal Communications Commission
  Economic Advisor, Office of the Governor, State of Texas
  Economic Advisor, Ministry of Economic Affairs, Republic of China
  Chairman of the Board and President, Texas Manufacturing Technology Center
  Chairman, Blue Cross & Blue Shield of Texas Affiliate Board


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  Member, Board of Directors, Health Care Service Corporation (Chair of Finance, Governance
   and Nominating, and Compensation Committees)
  Member, Board of Directors, Real Estate Council of Dallas
  Chairman, Texas Legislative Conference
  President, Board of Directors, Texas Leadership Institute
  Co-Chair, Strategic Advisory Committee, Team Texas: The Future of Nursing, Robert Wood
   Johnson Foundation
  Member, Board of Visitors, Scott & White Hospital
  Director, Women’s Financial Services, Southern Methodist University
  Advisory Director, Texas Association of Business and Chambers of Commerce
  Advisory Director, Chase Bank
  Director of projects, studies, and analyses for more than 2,000 clients, including major
   corporations, public utilities, government agencies, and financial services groups
  Published more than 2,500 trade articles and columns

  SELECTED HONORS AND AWARDS
  Doctoris Honoris Causa degree, International Institute for Advanced Studies
  Lifetime Achievement Award, International Institute for Advanced Studies
  Citation for Outstanding Initiative in Promoting World Trade, China External Development and
    Trade Administration
  Honorary Lifetime Fellow, National Academy of Nursing
  Citation for Meritorious Efforts in Promoting World Capitalism (including the People’s Republic
    of China), The Democracy Foundation
  Citation for Promoting International Academic Exchange, The Asia and World Institute
  Citation for Outstanding Advisory Contributions, Congress of the United States
  Presidential Medal of Merit
  First Recipient, “Ray Perryman Leadership Award,” Texas Association of Nurse Practitioners
  Award for Outstanding Research Achievement in Economic Modeling, Systems Research
    Foundation
  Outstanding Texas Leader (John Ben Shepperd Memorial Award)
  Outstanding Alumnus in Economic Research, Rice University
  Named the Outstanding Young Person in the World in the Field of Economics and Business
    Innovation, one of five Outstanding Young Texans, one of ten Outstanding Young Americans,
    and one of ten Outstanding Young Persons in the World
  2012 Texan of the Year, Texas Legislative Conference
  2013 Distinguished Service Medal, Baylor University
  2014 Texas Leadership Hall of Fame, JBS Leadership Institute
  2016 Cesar E. Chavez Conscience Builders Award, Cesar E. Chavez Legacy and Educational
    Foundation
  2018 Most Dynamic Economic Researcher in the US by Global Business Insights
  2019 Chairman’s Award for Lifetime Achievement in Economic Development from the
    International Economic Development Council
  2019 “Go Global” Award for Economic Analysis from the International Trade Council
  Recognized by Texas Legislature for “tireless efforts in helping to build a better Texas” and
    “shaping the economic future of the state; extensive contributions to economic growth in
    the Lone Star State”




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                                          APPENDIX B
                          Documents Reviewed or Relied Upon

Court Documents
First Amended Docket Control Order (73 First Amended Docket Control Order.pdf)
Plaintiff’s Responses to Netflix’s First Set of Interrogatories, May 21, 2021, (2021.05.21-New
        Boston, TX- Plaintiff’s Responses to Netflix’s First Set of Interrogatories)
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        (2021.05.21-New Boston, TX- Plaintiff’s Responses to Netflix’s First Set of Requests for
        Admissions)

Depositions
Oral and Videotaped Deposition of Elizabeth Lea, June 11, 2011

Expert and Declarations Reports
Declaration of Zack Gorman in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion for Class
      Certification, June 4, 2021
Declaration of Chengyi Long in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion for Class
      Certification, May 31, 2021
Declaration of Bakari Middleton in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion for
      Class Certification, May 26, 2021
Declaration of Maria Mirkovski in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion for
      Class Certification, June 1, 2021
Declaration of Michael Smith in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class
      Certification, June 2, 2021

Other Documents
       63-12 Ex 15
       63-13 Ex 16
       63-14 Ex 17
       63-15 Ex 18
       63-16 Ex 19
       63-17 Ex 20
       63-18 Ex 21
       63-19 Ex 22
       63-20 Ex 23
       63-21 Ex 24
       63-22 Ex 25
       63-23 Ex 26
       63-24 Ex 27
       63-25 Ex 28
       63-26 Ex 29
       63-27 Ex 30
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       63-29 Ex 32
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     63-30 Ex 33
     63-31 Ex 34
     63-32 Ex 35
     63-33 Ex 36
     63-34 Ex 37
     63-35 Ex 38
     63-36 Ex 39
     63-37 Ex 40
     63-38 Ex 41
     Chart & Excerpts of Plaintiff's Experts' Testimony That They Are Not Opining On The
             Points For Which Plaintiff Cites Them In Its Memorandum (Dkt. 54) (63-1 Chart re
             Expert Testimony.pdf)
     Chart of Publicly Available Information Regarding Municipality/Township Rejections of Tax
             Hikes (63-2 Chart re Tax Hikes.pdf)
     Chart of Publicly Available, Municipality-Specific Information Creating Factual Questions
             Regarding Knowledge and Notice of Netflix's Streaming Service (63-3 Chart re
             Notice.pdf)
     City of Maple Heights, Cuyahoga County, Ohio, Audit Report For The Year Ended,
             December 31, 2019 (63-8 Audit Report.pdf)
     Codified Ordinances of Barnsville, Ohio (63-10 Barnesville Ordinances.pdf)
     Codified Ordinances of the City of Alliance, Ohio (63-9 Alliance Ordinances)
     Codified Ordinances of the City of Independence, Ohio (63-11 Independence
             Ordinances.pdf)
     Declaration of Bakari Middleton in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion
             for Class Certification (63-41 Middleton Decl.pdf)
     Declaration of Chengyi Long in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion for
             Class Certification (63-40 Long Decl.pdf)
     Declaration of Maria Mirkovski in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion
             for Class Certification (63.42 Mirkovskin Decl.pdf)
     Declaration of Mary Rose Alexander in Support of Netflix, Inc.'s Opposition to Plaintiff's
             Motion for Class Certification (63-main-Alexander Decl.pdf)
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             Class Certification (63-43 Smith Decl.pdf)
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     Declaration of Zack Gorman in Support of Netflix, Inc.'s Opposition to Plaintiff's Motion for
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     Defendant Hulu, LLC’s Expert Witness Disclosures, June 1, 2021 (2021-06-01 Hulu LLC’s
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     Expert Rebuttal Report of Steven Turner in Opposition to Plaintiff's Motion for Class
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     Expert Report of David J. Malfara, Sr. May 14, 2021, Document 75-1, (75-1 Exhibit 1-
             Expert Report of David Malfara)
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                                        Appendix C
                    Testimony of M. Ray Perryman since 2016


  Litigation

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          and hearing testimony).
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          Samsung Semiconductor, Inc.” (Samsung Electronics Co., Ltd., Samsung
          Electronics America, Inc., and Samsung Semiconductor, Inc.) Case No. 4:14-CV-
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          Division, 2016 (deposition and trial testimony).
  “Intel Corporation vs. Future Link Systems, LLC.” (Intel Corporation) Civil Action No.
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          (deposition testimony).
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          United States District Court for the Eastern District of Texas, Marshall Division,
          2017 (deposition and trial testimony).
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  “Application of Public Service Company of Oklahoma (“PSO”) for Approval of the Cost
          Recovery of the Wind Catcher Energy Connection Project; A Determination
          There is a Need for the Project; Approval for Future Inclusion in Base Rates Cost
          Recovery of Prudent Costs Incurred by PSO for the Project; Approval of a
          Temporary Cost Recovery Rider; Approval of Certain Accounting Procedures
          Regarding Federal Production Tax Credits; Waiver of OAC 165:35-38-5(e); and
          Such Other Relief the Commission Deems PSO is Entitled.” (Oneta Power, LLC)
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          Defense and Education Fund (MALDEF)) Case No. 1:18-CV-00068, United
          States District Court for the Southern District of Texas, Brownsville Division, 2018
          (declaration and deposition).
  “HTC Corporation and HTC America, Inc., vs. Telefonaktiebolaget LM Ericsson and
          Ericsson, Inc.” (HTC Corporation and HTC America, Inc.) Case No. 2:17-CV-
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          00534-MJP, United States District Court, Western District of Washington at
          Seattle, 2019 (deposition and testimony).
  “Simpson Strong-Tie Company Inc. vs. Oz-Post International, LLC dba Ozco Building
          Products.” (Oz-Post International, LLC dba Ozco Building Products) Case No.
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          California, 2019 (deposition).
  “Carmelita Mestas, et al. v. Midland Wings, LTD., et al.” (Carmelita Mestas, et al.)
          Cause No. CV54436, District Court of Midland County, Texas, 238th District
          Court, 2019 (deposition).
  “First American Title Company, LLC, et al. vs. Title Data, Inc., et al.” (Title Data, Inc., et
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  “Grand Parkway Infrastructure, LLC (Claiming Party) and Grand Parkway
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  Regulatory and Legislative

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         Representatives, 2016.
  “Testimony of M. Ray Perryman Regarding the Efficacy of Spending and Revenue
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         the Finance Committee of the Texas Senate, 2017.
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         Workers,” testimony delivered to the Committee on International Trade and
         Intergovernmental Affairs of the Texas House of Representatives, 2017.
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         Intergovernmental Affairs of the Texas House of Representatives, 2017.
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         Representatives, 2018.
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  “Direct Testimony of M. Ray Perryman Regarding the Appropriate Rate of Return on
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         Energy Regulatory Commission. 2019.
  “Testimony of M. Ray Perryman Regarding Change Order Request by Grand Parkway
         Infrastructure, LLC (GPI) in Relation to Steel Prices and Tariffs,” testimony
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         Activity in Texas and Harris County,” testimony delivered to the Harris County
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         Activity in Texas and Dallas County,” testimony delivered to the Dallas County
         Commissioners Court, 2021.
  “The Potential Economic Impact of Legislation Restricting Voter Access on Business
         Activity in Texas and Tarrant County,” testimony delivered to the Tarrant County
         Commissioners Court, 2021.
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         Activity in Texas, Harris County, and the City of Houston,” testimony delivered to
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                                    APPENDIX D
                 Publications by M. Ray Perryman Since 2011


  THE PERRYMAN REPORT & TEXAS LETTER
  Lead Articles

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        “Continued Gains and Growing Pains: A Look at Texas’ Population Change Over
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        “Energy, Water, and the Texas Economy.” February 2012
        “Texas Travel.” March 2012
        “The Long-Term Outlook for the US Economy.” April/May 2012
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        “Services Jobs and the Minimum Wage.” August/September 2012
        “SPECIAL REPORT: Only One Rational Choice: Texas Should Participate in
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        “The Short-Term Outlook for the United States and Texas Economies.”
               November 2012
        “Education: Cornerstone of Prosperity.” December 2012
        “The Economic Forecast for Texas’ Metropolitan Areas: 2012-2017.” January
               2013
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               the United States and the European Union.” February 2013
        “Texas Strong.” March/April 2013
        “Challenges to Texas’ Future Prosperity.” May 2013
        “The Long-Term Outlook for the US Economy.” June 2013
        “The Long-Term Forecast for the Texas Economy.” July 2013
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        “The US Short-Term Forecast 2013-2018.” December 2013
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        “Job Recovery Since the Recession.” Vol. 31, No. 3
        “Changing Global Oil and Natural Gas Markets.” Vol. 31, No. 4
        “The Long-Term Outlook for the US Economy.” Vol. 31, No. 5
        “The Economic Benefits of Oil and Natural Gas Production for the United States
               and Major Energy-Producing States.” Vol. 31, No. 6
        “The Long-Term Forecast for the Texas Economy.” Vol. 31, No. 7
        “The Long-Term Economic Forecast for Texas Metropolitan Areas.” Vol. 31, No.
               8
        “Suffer the Little Children: An Assessment of the Economic Cost of Child
               Maltreatment.” Vol. 31, No. 9
        “Catalyst for Growth: The Importance of 25 Years of Projects Facilitated by the
               Texas Sales Tax for Economic Development.” Vol. 31, No. 10
        “The Short-Term Outlook for the US Economy.” Vol. 32, No. 1
        “Short-Term Economic Forecast for Texas.” Vol. 32, No. 2
        “The Economic Forecast for Texas’ Largest Metropolitan Areas.” Vol. 32, No. 3
        “College Enrollment Trends.” Vol. 32, No. 4
        ‘“…and Justice for All” The Importance of the Judicial Infrastructure to Economic
               Growth.” Vol. 32, No. 5
        “Long-Term Forecast for the US Economy.” Vol. 32, No. 6
        “The Long-Term Forecast for the Texas Economy.” Vol. 32, No. 7
        “SPECIAL REPORT: Economic Benefits of the Electronic Payment System.”
               Vol. 32, No. 8
        “Long-Term Economic Forecast for Texas Metropolitan Areas.” Vol. 32, No. 9
        “The High Cost of Payday Loans.” Vol. 32, No. 10
        “The US Forecast.” Vol. 33, No. 1
        “The Economic Outlook for Texas through 2020.” Vol. 33, No. 2
        “The Economic Forecast for Texas Cities.” Vol. 33, No. 3
        “Catalyst!!! The Role of Dallas/Fort Worth International Airport in the North
               Central Texas Regional Economy.” Vol. 33, No. 4
        “Investing in Future Prosperity.” Vol. 33, No. 5
        “Long-Term Forecast for the US Economy.” Vol. 33, No. 6
        “The Long-Term Forecast for the Texas Economy.” Vol. 33, No. 7
        “The Long-Term Economic Forecast for Texas Metropolitan Areas.” Vol. 33, No.
               8
        “The Texas Crisis: Toward Reducing Child Maltreatment.” Vol. 33, No. 9
        “The Impact of Texas Travel and Tourism.” Vol. 33, No. 10
        “The Forecast for the US Economy.” Vol. 34, No. 1
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        “SPECIAL REPORT: The Potential Impact of Social Legislation on Business
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              the San Antonio Area and Texas.” Vol. 34, No. 2
        “The Economic Forecast for Texas.” Vol. 34, No. 3
        “The Economic Forecast for Texas Cities.” Vol. 34, No. 4
        “The Spread of Urban Culture.” Vol. 34, No. 5
        “Immigrants Get the Job Done.” Vol. 34, No. 6
        “Weathering the Storm: The Impact of Hurricane Harvey on Texas.” Vol. 34, No.
              7
        “The Long-Term Forecast for the United States and Texas.” Vol. 34, No. 8
        “The Long-Term Economic Forecast for Texas Metropolitan Areas.” Vol. 34, No.
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        “The Jobs of the Future.” Vol. 34, No. 10
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              2022.” Vol. 35, No. 1
        “Bordernomics: The US-Mexico Border Region.” Vol. 35, No. 2
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              Border Region.” Vol. 35, No. 3
        “The Economic Forecast for Texas.” Vol. 35, No. 4
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        “The Long-Term Outlook for the Texas Economy.” Vol. 35, No. 8
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              9
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              Programs.” Vol. 35, No. 10
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        “The Short-Term Outlook for the Texas Economy.” Vol. 36, No. 2
        “The Economic Forecast for Texas Cities.” Vol. 36, No. 3
        “Economic Benefits of the Texas Energy Sector.” Vol. 36, No. 4
        “The Long-Term Forecast for the United States Economy.” Vol. 36, No. 5
        “The Challenges of Economic Growth.” Vol. 36, No. 6
        “The Long-Term Outlook for the Texas Economy.” Vol. 36, No. 7
        “The Long-Term Economic Forecast for Texas Metropolitan Areas.” Vol. 36, No.
              8
        “The Market for Prosperity: What Every Community Needs to Know to Optimize
              Economic Development.” Vol. 36, No. 9
        “Using Incentives within The Market for Prosperity: What Every Community
              Needs to Know to Optimize Economic Development.” Vol. 36, No. 10
        “Economic Benefits of Texas Nonprofit Entities.” Vol. 37, No. 1
        “The High Economic Cost of the COVID-19 Pandemic.” Vol. 37, No. 2
        “The Short-Term Outlook for the US Economy.” Vol. 37, No. 3
        “The Short-Term Outlook for the Texas Economy.” Vol. 37, No. 4
        “The Economic Significance of the Permian Basin.” Vol. 37, No. 5
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        “The Potential Impact of a Comprehensive Non-Discrimination Act on Business
                Activity in Texas.” Vol. 37, No. 6
        “The Short-Term Economic Forecast for Texas’ Largest Metropolitan Areas.”
                Vol. 37, No. 7
        “An Updated Outlook for the US Economy.” Vol. 37, No. 8
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                10
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                Additional Federal Funds for Health Insurance Expansion.” Vol. 38, No. 1
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        “Rainy Day Water.” November/December 2013
        “Striving for STEM.” December 2013
        “Oil Price Update.” Vol. 32, No. 2
        “The Recent Presidential Election.” Vol. 33, No. 8
        “To Choose or Not To Choose: The School Choice Debate.” Vol. 33, No. 9
        “Global Trade: Let’s Get Real!” Vol. 34, No. 1


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              Metropolitan Statistical Areas.” Winter 2011.
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              Metropolitan Statistical Areas.” Summer 2012.
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        “The 2017 Perryman Economic Forecast: The United States, Texas, and Major
              Texas Metropolitan Statistical Areas.” March 2017
        “Perryman Economic Update Economic Forecast for the US, Texas, and Major
              Texas Metropolitan Statistical Areas.” Second Quarter 2017
        “Perryman Economic Update Economic Forecast for the US, Texas, and Major
              Texas Metropolitan Statistical Areas.” Third Quarter 2017
        “Perryman Economic Update Economic Forecast for the US, Texas, and Major
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        “Perryman Economic Update Economic Forecast for the US, Texas, and Major
              Texas Metropolitan Statistical Areas.” First Quarter 2018
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              Texas Metropolitan Statistical Areas.” Second Quarter 2018
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              Texas Metropolitan Statistical Areas.” Third Quarter 2018
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              Texas Metropolitan Statistical Areas.” Fourth Quarter 2018
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              Texas Metropolitan Statistical Areas.” First Quarter 2019
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        “Shale Game.” February 2, 2012
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        “A Step in the Right Direction.” June 7, 2012
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        “A Closer Look at US Debt.” October 24, 2013
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        “Striving for STEM.” November 28, 2013
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        “A Texas Legacy.” July 17, 2019
        “One Giant Leap.” July 24, 2019
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        “Imperfect, Yet Essential.” March 17, 2021
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